AO 106 (Rev. oa! 10) Application fora Search Warrant

 

 

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

In the Matter ofthe Search of ;
‘Briefly describe th ty to b hed
,  Ciesittete ieee anietis) case, JAW IIA-|
INFORMATION ASSOCIATED WITH FACEBOOK.

ACCOUNT WITH USER ID 10000856201 1804 IN
POSSESSION OF FACEBOOK, INC.

APPLICATION FOR A SEARCH WARRANT

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifp the person or describe the

property io be searched and give its location):

located in the Middle District of North Carolina -__, there is now concealed (identify the

person or describe the property to be seized):
See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c¢) is (check one or more)!
Wf evidence ofa crime;
i contraband, fruits of crime, or other items illegally possessed;
O property designed for use, intended for use, or used in committing a crime;
1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
Title 18U.S.C,§1030 | Fraud and related activity In connection with computers - unauthorized access

The Bp lication is based on these facts:
See affidavit

os Continued on the attached sheet.

. O Delayed notice of days (give exact ending daté if more than 30 days:
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

tplen Vcr.
" Applicant’s signature

JOHN MASER, SPECIAL AGENT, FBI
Prinied name and title

Sworn to before me and signed in my presence.
: Cuyflbac
Date: 7 3 l = [ [AX

NI Yo fiudge’s signature
City and state: Duy haw L. | HON. JOE L. WEBSTER, U.S. MAGISTRATE JUDGE

Printed name and title

) is requested

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

IN THE MATTER OF THE
SEARCH OF- INFORMATION

ASSOCIATED WITH FACHBOOK | Case No. |AMTA91- | ;
USER ID 100008562011804 THAT

IS STORED AT PREMISES Filed Under Seal

CONTROLLED BY FACEBOOK :

INC. a

 

AFFIDAVIT IN SUPPORT OF
“AN APPLICATION FOR A SEARCH WARRANT

I, John Maser, being first duly sworn, hereby depose and state as

follows:

INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search

warrant for information associated with a certain Facebook user ID that is’
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stored at premises owned, maintained, controlled, or operated by Facebook Ince.
(“Facebook”), a social networking company headquartered in Menlo Park,
California. The information to be searched is described in the following
paragraphs and in Attachment A. This affidavit is made in support of an
application for a search warrant under 18 U.S.C. §§ 2708(a), 2703(b)(1)(A) and
2703(c)(1)(A) to require Facebook to dieclose to the government records and

other information in its possession, pertaining to the subscriber or customer

associated with the user ID.

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2. Tama Special sen withthe Federal Bureau of Investigation, and
have been since March 21, 2004, 1 am currently assigned to the Cyber Squad
in the Raleigh Resident Agency of the Charlotte Division. I have had this
assignment since November 2014. Prior to this assignment, I was a
Supervisory Special Agent assigned. to the National Cyber Investigative Joint
Task Force in Chantilly, Virginia. I have also been assigned to the Philadelphia
Division where I investigated public corruption and the Cincinnati Division
where I investigated white collar crime matters. Prior to becoming a Special
Agent, I was employed as a CPA with an international accounting firm. I have
previously conducted Federal. criminal investigations involving the use of
subpoenas, search warrants, and computer forensic examinations. The facts in
this affidavit come from my personal observations, my training and experience,
and information obtained from other agents and witnesses. This affidavit is
intended to show merely that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about ‘this
matter.

a. Based on my training and experience and the facts as set forth in
this affidavit, there is probable cause to believe that violations of Title 18,
‘United States Code, Sections 1030 (computer fraud), 1848 (wire fraud), and

371 (conspiracy) have been committed by various individuals, including those

using the Target Facebook Account. There is also probable cause to search the

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information described in Attachment A for evidence of these as described in

Attachment B. |
PROBABLE CAUSE

4. The Federal-Bureau of Investigation is investigating a family of
‘malicious software (“malware”) known as Emotet, which was first observed in
2014, targeting the banking industry. The malware worked by injecting
computer code into an infected computer and stealing sensitive information,
including financial and address book data. Since then, it has evolved into a
“dropper,” which is malware that surreptitiously injects other malware into a
‘computer. Emotet was first discovered in North Carolina, following the
infection of a school district’s computer network in December 2017. Since that:

‘time, there have been numerous other victims throughout North Carolina and

the United States, to include computer networks. of local, state, tribal and
federal governmental units, corporations, and networks related to critical
infrastructure.

5, Administrators of the Emotet malware communicate with infected
computers through two separate systems of servers, each with a tiered
hierarchy, described here as Tier 1, Tier 2, and Tier 3. One system. of servers
distributes the malware payloads, and the other serves as command-and-
control for the malware. When a victim receives a malicious email containing

a link to download an infected document, the victim’s machine contacts a Tier 1°

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distribution server. Such servers, which appear to host websites that have been
compromised, deliver infected documents and files to the intended victim.
There are many Tier 1 servers that communicate with infected computers.
These Tier 1 distribution servers receive their malicious files from Tier 2
servers, which pass files and instructions from Tier 3 servers. The Tier 2
servers appear to be compromised and repurposed to send files and
instructions from one or more Tier 3 servers.

6. Emotet’s tiered infrastructure appears to serve the following
purposes: (a) widely disperse the malware distribution to minimize disruption
when Tier 1 servers are blacklisted by anti-virus, security, and hosting
companies, and (b) obfuscate the actors behind Emotet by creating layers of
infrastructure. The lower-tiered infrastructure is comprised of compromised
servers Operated by legitimate businesses and individuals, while the higher-
level infrastructure operated by the Emotet actors may be hosted on
bulletproof hosting companies that are not law enforcement friendly.

7. Through analysis of Emotet malware samples and network traffic |
from computers infected with Emotet, investigators have identified two
command-and-control Tier 2 servers and a distribution Tier 3 server. The
Tier 3 server, which is sending large amounts of data to Tier 2 distribution
servers approximately every 10 minutes, is believed to be controlled by the

parties responsible for the Emotet malware.

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8. On or about November 16, 2018, investigators obtained a forensic
image from the Tier 8 server from Dutch authorities. The FBI has forensically
analyzed portions of the imaged server and identified an-organized series of

front-end and back-end servers that are linked to the Tier 8 server.

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associated with Nikolai Nikolaevich Egupov, date of birth of 3/18/1984, in St. |
Petersburg, Russia. Open source queries identified an individual on Russian
social media site VK.com matching the name, date of birth, and location of St.
Petersburg, Russia. Additional queries determined the profile picture for
Egupov on VK.com was identical to that of a Nikolay Egupov on Facebook
(hitps://www.facebook.com/profile.php?id=100008562011804). The FBI -was
able to link Egupov to Facebook account with user ID 100008562011804 —the’
SUBJECT ACCOUNT. |

12. On or about May 7, 2019, investigators obtained subscriber

information from Facebook pertairing to the SUBJECT ACCOUNT. The

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subscriber results revealed that the email address keshka888@mail.ru and

phone number +792,16458686 are associated with the Facebook account. The
name on the account was “Huxonati Erynos” which translates to “Nikolai
Egupoy.” The results also revealed that the account is still actively used, and
was logged into as recently as April 10, 2019 from IP address 188.243.55:183.
TP address 188.248.55.183 was used to log into the account 24 times since the
account was created in December 2014. IP address 188.243.55.183 resolves to
St. Petersburg, Russia.

18. Facebook owns and operates a free-access social networking
website of the same name that can be accessed at http:/Awww.facebook.com.
Facebook allows its users to establish accounts with Facebook, and users can
then use their accounts to share written news, photographs, videos, and other
information with other Facebook users, and sometimes with the general public.

14.- Facebook asks users to provide basic contact and personal
identifying information to Facebook, either during the registration process or .
thereafter. This information may include the user’s full name, birth date,
gender, contact email addresses, Facebook passwords, physical address
(including city, state, and zip code), telephone numbers, screen names,

websites, and other personal identifiers. Facebook also assigns a user

identification number to each account. _

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15. Facebook users snay join one or more groups or networks to connect
and interact with other users who are members of the same group or network.
Facebook assigns a group identification number to each group. A Facebook
user can also connect directly with individual Facebook users by sending each
user a “Friend Request.” If the recipient of a “Friend Request” accepts the
request, then the two users will become “Friends” for purposes of Facebook and
can exchange communications or view information about each other. Each
Hacebook user’s account includes a list of that user’s “Friends” and a “News
| Feed,” which highlights information about the user’s “Friends,” such as profile
‘changes, upcoming events, and birthdays.

16. Facebook users can select different levels of privacy for the
communications and information associated with their Facebook accounts. By
adjusting these privacy settings, a Facebook user can make information
available only to himself or herself, to particular Facebook users, or to anyone
with access to the Internet, including people who are not Facebook users. A
Facebook user can also create “lists” of Facebook friends to facilitate the
application of these privacy settings. Facebook accounts also include other
account settings that users can adjust to control, for example, the types of
notifications they receive from Facebook.

17. Facebook users can create profiles that include photographs, lists

of personal interests, and other information. Facebook users can alse post

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“status” updates about their whereabouts and actions, as well as links to

videos, photographs, articles, and other items available elsewhere on the —
Internet. Facebook users can also post information about upcoming “events,”
‘such as social occasions, by listing the event’s time, location, host, and guest
list. In addition, Facebook users can “check in” to particular locations or add
their geographic locations to their Facebook posts, thereby revealing their
geographic locations at particular dates and times. A particular user’s profile
' page also includes a “Wall,” which is a space where the user and his or her
| “Friends” can post messages, attachments, and links that will typically be
visible to anyone who can view the user’s profile. -

18. Facebook allows users to upload photos and videos, which may
include any metadata such as location that the user transmitted when s/he
uploaded the photo or video. It also provides users ‘the ability to -“tag” (i.e.,
-label) other Facebook uses in a photo or video. When a user is tagged in a
photo or video, he or she receives a notification of the tag and a link to see the
photo or video. For Facebook’s purposes, the photos and videos associated with
a user’s account will include all photos and videos uploaded by that user that
have not been deleted, as well as all photos and videos uploaded by any user
that have that user tagged in them.

19. Facebook users can exchange private messages on Facebook with

other users. Those messages are stored by Facebook unless deleted by the user.

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Facebook users can also post comments on the Facebook profiles of other users
or on their own profiles; such comments are typically associated with a specific
posting or item on the profile. In addition, Facebook has a chat feature that
allows users to send and receive instant messages through Facebook
Messenger. These chat communications are stored in the chat history for the
account. Facebook also has Video and Voice Calling features, and although
Facebook does not record the calls themselves, it does keep records of the date
of each call. |

20. Ifa Facebook user does not want to interact with another user on
Facebook, the first user can “block? the second user from seeing his or her
account.

21. | Facebook has a “like” feature that allows users to give positive
feedback or connect to particular pages. Facebook users can “like” Facebook
posts or updates, as well as webpages or content on third-party (i.e, non-
' Facebook) websites. Facebook users can also become “fans” of particular
Facebook pages.

22. Facebook has a search function that enables its users to search
Facebook for keywords, usernames, or pages, among other things. |

23. Hach Facebook account has an activity log, which is a list of the

user’s posts and other Facebook activities from the inception of the account to

the present. The activity log includes stories and photos that the user has been

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tagged in, as well as connections made through the account, such as “liking” a
Facebook page or adding someone as a friend. The activity log is visible to the
user but cannot be viewed by people who visit the user’s Facebook page.

“94. Facebook also has a Marketplace feature, which allows users to
post free classified ads. Users can post items for sale, housing, jobs, and other
items on the Marketplace.

25. In addition to the applications described above, Facebook. also
provides its users with access to thousands of other applications (“apps”) on
the Facebook platform. When a Facebook user accesses or uses one of these
applications, an update about that the user’s access or use of that application
tay appear on the user’s profile page.

26. Facebook also retains Internet Protocol (“IP”) logs for a given user
ID or IP address. These logs may contain information about the actions. taken
by the user ID or IP address on Facebook, including information about the type
of action, the date and time of the action, and the user ID and IP address
associated with the action. For example, ifa user views a Facebook profile, that
user’s IP log would. reflect the fact that the user viewed the profile, and would
show when and from what IP address the user did so.

27. Social networking providers like Facebook typically retain
additional information about their users accounts, such as information about

the length of service (including start date), the types of service utilized, and

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\ .

the means and source of any payments associated with the service (including
any tredit card or bank account number). In some cases, Facebook users may
communicate directly with Facebook about issues relating to their accounts,
auch as technical problems, billing inquiries, or complaints from other users.
Social networking providers like Facebook typically retain records about such —
communications, including records of contacts between the user and the
provider’s support services, as well as records of any actions taken by the
provider or user as a result of the communications.

28. As explained herein, information stored in connection with a
Facebook account may provide crucial evidence of the “who, what, why, when,
where, and how” of the criminal conduct under investigation, thus enabling the
United States to establish and prove each element or alternatively, to exclude
the innocent from further suspicion. In my training and ‘experience, a Facebook
user's IP log, stored electronic communications, and other data retained by .
Facebook, can indicate who has used or controlled the Facebook account. This
“user attribution” evidence is analogous to the search for “indicia of occupancy”
while executing a search warrant at a residence. For example, profile contact
information, private messaging logs, status updates, and tagged photos (and
the data associated with the foregoing, such as date and time) may be evidence
of who used or controlled the Facebook account at a relevant time. Further,

Facebook account activity can show how and when the account was accessed

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or used. For example, as described herein, Facebook logs the IP addresses from
| which users access their accounts along with the time and date. By
determining the physical location associated with the logged IP addresses,
investigators can understand the chronological and geographic context of the
account access and use relating to the crime under investigation. Such
information allows imvestigators to understand the geographic and
chronological context of Facebook access, use, and events relating to the crime
under investigation. Additionally, Facebook builds geo-location into some ofits —
services. Geo-location allows, for example, users to “tag” their location in posts
and Facebook “friends” to locate each other. This geographic and timeline
information may tend to. either inculpate or exculpate the Facebook account
owner. Last, Facebook account activity may provide relevant insight into the
Facebook account owner's state of mind as it relates to the offense under
investigation. For example, information on the Facebook account may indicate
the owner’s motive and intent to commit a crime (¢.g., information indicating
a plan to commit a crime), or consciousness of guilt (e.g., deleting account
information in an effort to conceal evidence from law enforcement).

29. Therefore, the computers of Facebook are likely to contain all the
material described above, including stored electronic communications and
information concerning subscribers and their use of Facebook, such as account

access information, transaction information, and other account information.

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INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED °

30. I anticipate executing this warrant under the Electronic
Communications Privacy Act, in particular 18 U.S.C. §§ 2708(a), 2703(b)(1)(A)
and. 2703(c)(1)(A), by using the warrant to require Facebook to disclose to the
government copies of the records and other information (including the content
of communications) particularly described in Section I of Attachment B. Upon
receipt of the information described in Section I of Attachment B, government-
authorized persons will review that information to lovate the items described
in Section IT of Attachment B. | |

CONCLUSION

31. Based on the forgoing, I request that the Court issue the proposed
search warrant. Because the warrant will be served on Facebook, who will then
compile the requésted records at a time convenient to it, reasonable cause
exists to permit the execution of the requested warrant at any time in the day
or night. |

32. This Court has jurisdiction to issue the requested warrant because
it is “a court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18
U.S.C. §§ 2703(a), MDA) & OMA). Specifically, the Court is “a district
court of the United States .. . that — has jurisdiction over the offense being

investigated.” 18 U.S.C. § 2711(8) (A).

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33. Pursuant to 18 U.S.C. § 2703(¢), the presence of a law enforcement

officer is not required for the service or execution of this warrant.

Respectfully submitted,

J, Maser
Special Agent
Federal Bureau of Investigation

‘Subseribed and sworn to before me on. J uly 5 , 2019 q . Q7 AL-AL

The HohJJo# L. Webster
UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A

Property to Be Searched

This warrant applies to information associated with Facebook

 

user ID 100008562011804 that is stored at premises owned, maintained,
controlled, or operated by Facebook Inc., a social networking company

headquartered in Menlo Park, California.

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Particular Things to be Seized

 

I. Information to be disclosed by Facebook Inc.

To the extent that the information described in Attachment Ais within _
the possession, custody, or control of Facebook Inc. (“Facebook”), regardless of
whether such information is located within or outside of the United States,
including any messages, records, files, logs, or information that have been.
deleted but are still available to Facebook, or have been preserved pursuant
to a request made under 18 U.S.C. § 2708, Facebook is required to disclose
the following information to the government for the ID listed in
Attachment. A: |

1. All contact and personal identifying information, including fall
name, user identification number, birth date, gender, contact email
addresses, physical address (including city, state, and zip code), telephone
numbers, screen names, websites, and other personal identifiers;

2. All activity logs for the account and all other documents showing
the user's ‘posts and other Facebook activities;

3. All photos and videos uploaded by that user [ID and all photos
and videos uploaded by any user that have that user tagged in them, -
. including Exchangeable Image File (“EXIF”) data and any other metadata

associated with those photos and videos;

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4, All profile information, News Feed information: status updates:
videos, photographs, articles, and other items; Notes; Wall postings; friend
lists, including the friends’ Facebook user identification numbers; groups and ~
networks of which the user is a member, including the groups’ Facebook
group: identification numbers; ‘future and past event postings; rej acted
“Friend” requests; comments; gifts; pokes; tags; and information about the
user’s access and use of Facebook applications; . |

5. All records or other information regarding the devices and
internet browsers associated. with, or used in connection with; that user ID,
including the hardware model, operating system version, unique device
identifiers, mobile network information, and user agent string;

6. All other records and contents of communications and messages
made or received by the user, including all Messenger activity, private
messages, chat history, video and voice calling history, and pending “Friend”
requests;

7. All “check ins” and other location information;

8. All IP logs, including all records of the IP addresses that logged
into the account;

9. All records of the account’s usage of the “Like” feature, including

all Facebook posts and all-non-Facebook webpages and content that the user :

has “liked”;

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10. All information about the Facebook pages that the account is or
was & “fan” of; |

11. All past and present lists of friends created by the account;

12. All records of Facebook searches performed by the account;

18. All information about the user’s access and use of Facebook
Marketplace;

14, The types of service utilized by the user;

15. The length of service (including start date) and the means and
source of any payments associated with the service (including any credit card

or bank account number);

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16. All privacy settings and other account settings, including privacy
settings for individual Facebook posts and activities, and all records showing
which Facebook users have been blocked by the account;

17. All records pertaining to communications between Facebook and
any person regarding the user or the user's Facebook account, including
contacts ‘with support services and records of actions taken; and

18. All records and information relating to machine cookies.

Facebook is hereby ordered to disclose the above information to the
government within fourteen (14) days of service of this warrant.

IT. Information to be seized by the government

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All information described above in Section I that constitutes fruits,
evidence and instrumentalities of violations of Title 18, United States Cede,
Sections 1030 (computer fraud), 1348 (wire fraud), and 371 (conspiracy)
involving Nikolai Egupov since December 10, 2014, including, for each user
ID identified on Attachment A, information pertaining to the following
matters:

1. Evidence relating to the Emotet malware or other types of »
malware or computer fraud schemes.

2. Evidence of relations or communications between Egupov and
other conspirators;

3. Evidence indicating how and when the Facebook account was
accessed or used, to. determine the chronological and geographic context of
account access, use, and events relating to the crime under investigation and

to the Facebook account owner:

4. Evidence indicating the Facebook account-owner’'s state of mind

as it relates to the crime under investigation; and
5. The identity of the person(s) who created or used the user ID,

including records that help reveal the whereabouts of such person(s).

This warrant authorizes a review of electronically stored information,

‘communications, other records and information disclosed pursuant to this

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warrant in order to locate evidence, fruits, and instrumentalities described in
this warrant. The review of this electronic data may be conducted by any
government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the |
| government, attorney support staff, and technical experts. Pursuant to this
warrant, the FBI may deliver a complete copy of the disclosed electronic data

to the custody and control of attorneys for the government and their support

staff for their independent review.

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